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                                            U.S. Department of Justice

                                            United States Attorney
                                            District of New Jersey

                                            970 Broad Street, Suite 700   (973) 645-2700
                                            Newark, New Jersey 07102




                                            November 2, 2019

Anthony Siano, Esq.
333 Westchester Ave # 302
White Plains, NY 10604

            Re: Plea Agreement with MAURIZIO PARLATO

Dear Mr. Siano:
       This letter sets forth the plea agreement between your client, MAURIZIO
PARLATO, and the United States Attorney for the District of New Jersey (“this
Office”). This plea offer will expire if an executed copy is not received by this
Office by 5 p.m. on November 18, 2019.

Charges

        Conditioned on the understandings specified below, and subject to the
approval of the Tax Division of the United States Department of Justice, this
Office will accept a guilty plea from MAURIZIO PARLATO to a two count
Information that charges him with, in Count One, subscribing to a false tax
return, in violation of 26 U.S.C. § 7206(1); and, in Count Two, with failing to
file a Foreign Bank Account Report (“FBAR”), in violation of 31 U.S.C. §
5322(a). If MAURIZIO PARLATO enters a guilty plea and is sentenced on these
charges, and otherwise fully complies with all of the terms of this agreement,
this Office will not initiate any further criminal charges against MAURIZIO
PARLATO for: subscribing to false tax returns for tax years 2010 through
2015, inclusive, which returns omitted income MAURIZIO PARLATO received
from secret kickback payments made to him between in or about 2010 through
in or about 2015; and for failing to file FBARs between 2010 and 2015,
inclusive, on foreign bank accounts held by MAURIZIO PARLATO or entities he
controlled. However, in the event that a guilty plea in this matter is not entered
for any reason or the judgment of conviction entered as a result of this guilty
plea does not remain in full force and effect, MAURIZIO PARLATO agrees that
any dismissed charges and any other charges that are not time-barred by the
applicable statute of limitations on the date this agreement is signed by
MAURIZIO PARLATO may be commenced against him, notwithstanding the
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expiration of the limitations period after MAURIZIO PARLATO signs the
agreement.

Sentencing

       The violation of 26 U.S.C. § 7206(1) to which MAURIZIO PARLATO agrees
to plead guilty carries a statutory maximum prison sentence of 3 years and a
statutory maximum fine of $250,000, together with the costs of prosecution.

       The violation of 31 U.S.C. § 5322(a) to which MAURIZIO PARLATO agrees
to plead guilty carries a statutory maximum prison sentence of 5 years and a
statutory maximum fine equal to the greatest of: (1) $250,000, or (2) twice the
gross amount of any pecuniary gain that any persons derived from the offense,
or (3) twice the gross amount of any pecuniary loss sustained by any victims of
the offense.

      The sentence on each count may run consecutively. Fines imposed by
the sentencing judge may be subject to the payment of interest.

       The sentence to be imposed upon MAURIZIO PARLATO is within the sole
discretion of the sentencing judge, subject to the provisions of the Sentencing
Reform Act, 18 U.S.C. §§ 3551-3742, and the sentencing judge’s consideration
of the United States Sentencing Guidelines. The United States Sentencing
Guidelines are advisory, not mandatory. The sentencing judge may impose any
reasonable sentence up to and including the statutory maximum term of
imprisonment and the maximum statutory fine. This Office cannot and does
not make any representation or promise as to what Guidelines range may be
found by the sentencing judge, or as to what sentence MAURIZIO PARLATO
ultimately will receive.

      Further, in addition to imposing any other penalty on MAURIZIO
PARLATO, the sentencing judge: (1) will order MAURIZIO PARLATO to pay an
assessment of $100 per count pursuant to 18 U.S.C. § 3013, which
assessment must be paid by the date of sentencing; (2) may order MAURIZIO
PARLATO to pay restitution pursuant to 18 U.S.C. § 3663A and/or 18 U.S.C.
§ 3663A(a)(3); (3) may order MAURIZIO PARLATO, pursuant to 18 U.S.C.
§ 3555, to give notice to any victims of his offenses; (4) may order MAURIZIO
PARLATO to pay the costs of prosecution; (5) may order forfeiture pursuant to
18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461 regarding Count Two; and
(6) pursuant to 18 U.S.C. § 3583, may require MAURIZIO PARLATO to serve a
term of supervised release of not more than 1 year on Count One and 3 years
on Count Two, which will begin at the expiration of any term of imprisonment
imposed. Should MAURIZIO PARLATO be placed on a term of supervised
release and subsequently violate any of the conditions of supervised release
before the expiration of its term, MAURIZIO PARLATO may be sentenced to not
more than 2 years’ imprisonment in addition to any prison term previously


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